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 1 Thomas J. Hall (Nevada Bar No. 675)
     Gregory J. Hall (Nevada Bar No. 12221)
 2 tjhlaw@eschelon.com
     Law Offices of Thomas J. Hall
 3 305 S. Arlington Ave.
     P.O. Box 3948
 4 Reno, NV 89505
     (775) 348.7011
 5
 6 Matthew M. Wawrzyn (pro hac vice)
     matt@wawrzylaw.com
 7 Stephen C. Jarvis (pro hac vice)
     stephen@wawrzynlaw.com
 8 WAWRZYN & JARVIS LLC
     2700 Patriot Boulevard, Suite 250
 9 Glenview, IL 60026
     847.656.5864
10
     Counsel for POWERbahn, LLC
11
                                   UNITED STATES DISTRICT COURT
12                                      DISTRICT OF NEVADA
                                           RENO DIVISION
13
14    POWERbahn, LLC

15                    Plaintiff,                     Case No. 3:15-cv-00327-MMD-WGC

16           v.                                      Judge: Hon. Miranda M. Du
                                                     Magistrate: Hon. William G. Cobb
17    Foundation Fitness LLC and Wahoo
18    Fitness LLC,
                                                     PLAINTIFF POWERBAHN’S MOTION FOR
19                    Defendants.                    PARTIAL SUMMARY JUDGMENT OF
                                                     INFRINGEMENT AND MEMORANDUM OF
20                                                   POINTS AND AUTHORITIES
21
22
23
24                                         INTRODUCTION

25          POWERbahn filed a complaint against Wahoo two years ago for patent infringement. The

26 patents-in-suit claim an exercise device that gives, for example, a stationary bike rider a virtual
27 experience of biking outdoors. The patents read on the Wahoo KICKR: “KICKR’s professional-
28 grade high inertia flywheel is engineered to provide a ultra realistic road feel.”
     Motion for Partial Summary Judgment           -1-       Case No. 3:15-cv-00327-MMD-WGC
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 1
     http://www.wahoofitness.com.
 2
             The parties engaged a private mediator and spent many months after the mediation
 3
     attempting without Court involvement to resolve this dispute—which includes claims and potential
 4
     claims of willful patent infringement and trade secret misappropriation against a former Nautilus,
 5
     Inc. executive, Patrick Warner. While unsuccessful in that endeavor, plaintiff and defendants
 6
     managed to crystallize the issues. Simply put, POWERbahn thinks its patent claims read on the
 7
     KICKR. Defendants disagree and think a prior art reference called Sargeant invalidates.
 8
             POWERbahn requests that partial summary judgment be granted in its favor, holding
 9
     Wahoo liable for infringement of claim 16 of U.S. Patent 7,066,865 (hereinafter, the “‘865 patent”).
10
                                        MATERIAL ISSUES OF FACT
11
            1.         POWERbahn is the exclusive licensee of the ‘865 patent, with the right to sue. (Ex.
12
     A (License Agreement) §§ 2.1 & 3.2.)
13
            2.         Claim 16 of the ‘865 patent is “an apparatus for simulating forces and movement of
14
     a human subject during a physical activity, comprising: a base . . . a moveable member mounted to
15
     the base . . . a force-generating device operably coupled to the moveable member . . . a sensor . . .
16
     and . . . a controller . . . .” (Ex. B (‘865 patent), cols. 61:25-62:6.)
17
            3.         The Claim 16 moveable member “defin[es] a velocity and receiv[es] an input force
18
     applied to the moveable member by a human subject . . . .” (Id., col. 61:28-31.)
19
            4.         The claim 16 apparatus has “a force-generating device operably coupled to the
20
     moveable member and applying a resistance force to the moveable member . . . .” (Id., col., 61:32-
21
     34.)
22
            5.         The claim 16 apparatus also has “a sensor configured to provide a signal
23
     corresponding to . . . an input force applied to the movable member by a human subject . . . .” (Id.,
24
     col. 61:35-38.)
25
            6.         Lastly, claim 16 comprises, “a controller configured to control the resistance force
26
     applied to the movable member by the force-generating device based, at least in part, on a signal
27
     provided by the sensor and a haptic equation incorporating an equation of motion of a human
28
     subject performing the physical activity being simulated.” (Id., col. 62:1-6.) “It should be noted that
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 1
     the more frequently the actual force F is monitored 1815, the more realistic is the simulation of the
 2
     apparatus 100 to the circumstances being simulated. In the preferred embodiment of the present
 3
     invention, the CPU 310 obtains 1815 a new force value F from the force sensor 315 and/or 316 at
 4
     least every tenth of a second, more preferably every one-hundredth of a second, more preferably
 5
     every one-thousandth of a second, and still more preferably every ten-thousandth of a second.” (Id.,
 6
     col. 48:56-64.)
 7
           7.          Wahoo sells KICKR trainers. See http://www.wahoofitness.com. The KICKR has a
 8
     base. (Ex. C (Infringement Contentions) at 1.)
 9
           8.          The KICKR has a “moveable member mounted to the base,” and the moveable
10
     member defines a velocity and receives “an input force applied to the moveable member by a
11
     human subject.” (Id. at 2.) A user of the KICKR removes the rear wheel from her bicycle and
12
     attaches the KICKR’s “Freehub Module” to the bicycle. (Id.) When the user pedals her bicycle
13
     attached to the KICKR, she moves the chain attached to the cassette and spins the Freehub
14
     Module—defining a velocity and receiving an input force by the user. (Id.)
15
           9.          The KICKR also has the “force-generating device operably coupled to the moveable
16
     member.” (Id. at 3.) The KICKR has a “Resistance Module” operably coupled to the moveable
17
     member with a belt. (Id.) The Resistance Module contains an electromagnetic brake that applies a
18
     resistance force to the Freehub Module through the belt. (Id.)
19
           10.         The KICKR has two sensors. (Id. at 4.) An Optical Encoder provides a signal
20
     corresponding to the velocity of the Freehub Module. (Id.) Also, a Strain Gauge provides a signal
21
     corresponding to the input force applied to the Freehub Module. (Id.)
22
           11.         The KICKR also has a controller that controls the resistance applied to the Freehub
23
     Module based, in part, on the signal from the Strain Gauge and an application that uses an equation
24
     of motion relative to a user pedaling a bicycle: “you can enter your weight, bike type, riding
25
     position, headwind and grade and the KICKR will accurately model the power curve just as if YOU
26
     were riding outdoors.” (Id. at 5.)
27
           12.         Wahoo has made a number of statements that prove that the KICKR operates in an
28
     infringing manner. First, Wahoo’s Chief Executive Officer, Chip Hawkins, described the KICKR
     Motion for Partial Summary Judgment         -3-        Case No. 3:15-cv-00327-MMD-WGC
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 1
     as follows: “We can add in brake torque dynamically to make up for the delta between real
 2
     bike/rider weight and flywheel inertia. This allows us to provide a feel that is about as close as you
 3
     can get to going outside and riding without requiring a really massive flywheel.”
 4
     http://forum.slowtwitch.com/cgi-bin/gforum.cgi?post=4139803 (8/30/2012) (attached hereto as
 5
     Exhibit D).
 6
            13.     Second, Wahoo’s patent application that purports to cover the KICKR—U.S. Pub.
 7
     No. 2014/0171266 A1—provides in pertinent part as follows:
 8
                    According to an example embodiment, the bicycle trainer 1902, and
 9                  specifically the microprocessor, will continually adjust a PWM
                    signal delivered to the electromagnetic braking system at a rate of 64
10                  Hz [i.e., 64 times per second]. . . . The bicycle trainer 1902 will
                    measure instantaneous flywheel speed based on how fast the rider is
11                  pedaling and calculate the power the rider is using to pedal based on
                    torque applied at the flywheel 48 and compare the measurements
12                  with the power set point based on the static and dynamic variables to
                    determine if more or less electromagnetic braking is required.
13
     (Ex. E. (‘266 pub.) [0096].)1
14
                                                 ARGUMENT
15
     I.     CLAIM 16 OF THE ‘865 PATENT READS ON THE KICKR.
16
            A.      Summary Judgment Standard
17
            “[S]ummary judgment is as appropriate in a patent case as any other.” Avia Group Int’l,
18
     Inc. v. LA Gear California, Inc., 853 F.2d 1557, 1561 (Fed. Cir. 1988) (abrogated on other grounds).
19
     Summary judgment is proper when a moving party demonstrates that there is “no genuine issue as
20
     to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.
21
     56(a). There is no genuine issue of material fact when “the record taken as a whole could not lead
22
     a rational trier of fact to find for the non-moving party.” Matsushita Elec. Indus. Co. v. Zenith Radio
23
     Corp., 475 U.S. 574, 587 (1986).
24
            Accordingly, the Court decides “whether the evidence presents a sufficient disagreement to
25
     be presented to the trier or whether it is so one-sided that one party must prevail as a matter of law.”
26
     Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52 (1986). The Court must of course view the
27
     1
28           Wahoo statements regarding operation of the KICKR are admissible evidence pursuant to
     Fed. R. Evid. 801(d)(2)(A).
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 1
     evidence in the light most favorable to the non-moving party. Knoll Pharm. Co. v. Teva Pharms
 2
     USA, Inc., 367 F.3d 1381, 1383 (Fed. Cir. 2004). The party opposing the summary judgment
 3
     motion, though, cannot rest on attorney argument, but instead must present evidence that creates a
 4
     genuine issue as to material fact for trial. Anderson, 477 U.S. at 249.
 5
            If defendants here cannot establish a genuine issue for trial on any essential element of their
 6
     claims or defense, then plaintiff is entitled to summary judgment. Celotex Corp. v. Catrett, 477
 7
     U.S. 317, 322-23 (1986). In terms of a patent-infringement case like this one, if there “is no factual
 8
     dispute” that the KICKR satisfies all of the elements of the asserted claim, then summary judgment
 9
     of infringement may be entered. Revolution Eyewear, Inc. v. Aspex Eyewear, Inc., 563 F.3d 1358,
10
     1370 (Fed. Cir. 2009).
11
            B.      Comparison of the Claim Language to the KICKR Demonstrates Literal
12                  Infringement.

13          Claim 16 of the ‘865 patent has five elements that are present in the KICKR. First, claim

14 16 and the KICKR each has a base:
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23
     Second, claim 16 includes “a moveable member mounted to the base,” and the moveable member
24
     does two things. It defines a velocity and receives an input force applied to the moveable member
25
     by a human subject. (Ex. B, col. 61:28-31.) The KICKR has a Freehub Module that a human subject
26
     can spin by attaching and pedaling her bicycle:
27
28
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 9           Third, claim 16 has “a force-generating device operably coupled to the moveable member

10 and applying a resistance force to the movable member . . . .” (Ex. B, col. 61:32-34.) The KICKR
11 has a Resistance Module operably coupled to the Freehub Module and containing an
12 electromagnetic brake that applies a resistance force to the Freehub Module through the belt:
13
14
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22
23           Fourth, claim 16 has “a sensor configured to provide a signal corresponding to at least one
24 of . . . an input force applied to the moveable member by a human subject . . . .” (Ex. B, col. 61:35-
25 38.) Likewise, the KICKR has a Strain Gauge that provides a signal corresponding to the input
26 force applied to the Freehub Module. (Ex. E. (‘266 pub.) [0096] (“According to an example
27 embodiment, the bicycle trainer 1902, and specifically the microprocessor, will continually adjust
28 a PWM signal delivered to the electromagnetic braking system at a rate of 64 Hz [i.e., 64 times per
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         Case 1:17-cv-02965-AT Document 77 Filed 06/16/17 Page 7 of 9



 1
     second]. . . .”); see also id., [0104] (“The updateData method in the source code provided above is
 2
     called more than once a second . . . .”); id., [0105] (“First, the updateData method includes code to
 3
     instantiate and populate data fields of the bikePowerConnection with power data from the bicycle
 4
     trainer 1902 which is based on the power that the rider is using to pedal.”); id., [0106] (“[T]he
 5
     updateData method includes code which is used to read the data fields of from the
 6
     bikePowerConnection       object.   An   instantaneous   power    of   the   rider   is   read   using
 7
     bpData.instantPower . . . .”).)
 8
            Fifth, claim 16 has a controller that controls the resistance applied to the moveable member
 9
     based on “a signal provided by the sensor and a haptic equation incorporating an equation of motion
10
     of a human subject performing the physical activity being simulated.” (Ex. B, col. 62:3-6.) The
11
     KICKR has a controller that controls the electromagnetic brake based on, among other things, the
12
     force applied by the user (as measured by the Strain Gauge) and an equation of motion relative to
13
     a user pedaling a bicycle: “APP-CONTROLLED RESISTANCE[:] The inertia generated by the
14
     flywheel is controlled through Apps available for your smartphone, tablet or laptop—allowing you
15
     to choose your training experience.” (Ex. C at 5; see also id. (“you can enter your weight, bike type,
16
     riding position, headwind and grade and the KICKR will accurately model the power curve just as
17
     if YOU were riding outdoors.”).)
18
19
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22
23                                             CONCLUSION
24          For the foregoing reasons, POWERbahn respectfully requests that the Court grant partial
25 summary judgment in favor of POWERbahn, holding Wahoo liable for infringement of claim 16
26 of the ‘865 patent.
27
28
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        Case 1:17-cv-02965-AT Document 77 Filed 06/16/17 Page 8 of 9



 1
     Date: June 16, 2017                         Respectfully Submitted,
 2
                                             /s/ Matthew M. Wawrzyn
 3
                                             Thomas J. Hall (Nevada Bar No. 675)
 4                                           Gregory J. Hall (Nevada Bar No. 12221)
                                             tjhlaw@eschelon.com
 5                                           Law Offices of Thomas J. Hall
                                             305 S. Arlington Ave.
 6                                           P.O. Box 3948
                                             Reno, NV 89505
 7                                           (775) 348.7011

 8                                           Matthew M. Wawrzyn (pro hac vice)
                                             matt@wawrzynlaw.com
 9                                           Stephen C. Jarvis (pro hac vice)
                                             stephen@wawrzynlaw.com
10                                           WAWRZYN & JARVIS LLC
                                             2700 Patriot Boulevard, Suite 250
11                                           Glenview, IL 60026
                                             (847) 656.5864
12
                                             Counsel for POWERbahn, LLC
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14
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     of Infringement
        Case 1:17-cv-02965-AT Document 77 Filed 06/16/17 Page 9 of 9



 1
                                      CERTIFICATE OF SERVICE
 2
          I hereby certify that on June 16, 2017, an electronic copy of the foregoing Plaintiff
 3
     POWERbahn’s Motion for Partial Summary Judgment of Infringement and Memorandum of Points
 4
     and Authorities was filed with the Clerk of the Court by using the CM/ECF system and thereby
 5
     causing a “Notice of Electronic Filing” to be served on all counsel of record.
 6
                                                               /s/ Matthew M. Wawrzyn
 7                                                                 Matthew M. Wawrzyn

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     Motion for Partial Summary Judgment                       Case No. 3:15-cv-00327-MMD-WGC
     of Infringement
